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                 FOR THE NORTHER DISTRICT OF ILLINOIS
                             EASTERN DIVISION
Joseph M. Kupiszewski, and Spouse       )
Carole S. Kupiszewski,                  )

       Plaintiff,                               )

       vs.                                      )      Case No. 1:17-cv-06393
                                                       Honorable John J. Tharp, Jr.

Mohawk Finishing Products Division of           )
RPM Wood Finishes Group, Inc., Successor        )
to Star Finishing Products, Inc. and Star       )
Chemical Co., Inc.,                             )

       Defendant.                               )


   DEFENDANT RPM WOOD FINISI3ES GROUP,INC.'S MOTION TO
 DISMISS THE SECOND AND THIItD CAUSES OF ACTION ALLEGED IN
          PLAINTIFFS'SECOND AMENDED COMPLAINT

       Defendant RPM Wood Finishes Group, Inc., d/b/a Mohawk Finishing

Products Division of RPM Wood Finishes Group, Inc., successor in interest to

Mohawk Finishing Products, Inc., which was successor in interest to Star Finishing

Products, Inc., f/k/a Star Chemical Co., Inc. ("RPMWFG"), by its attorneys,

SWAONSON, MARTIN &BELL, LLP, and pursuant to Rule 12(b)(6) of the

Federal Rules of Civil Procedure, moves this Court to dismiss Plaintiffs' Second and

Third Causes of Action of their Second Amended Complaint. In support, RPMWFG

states as follows:

       1.      Plaintiffs filed their Second Amended Complaint on July 26, 2018

alleging that Joseph Kupiszewski's chronic lymphocytic leukemia(CLL) was caused

by exposure to benzene and benzene-containing products manufactured, sold and/or




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distributed by defendant. (See Plaintiffs' Second Amended Complaint, attached

hereto as Exhibit A.)

       1.     Plaintiffs have alleged recovery under four theories of liability:

negligence (First Cause of Action), breach of warranty (Second Cause of Acrion),

willful and wanton misconduct, gross negligence, and intenrional, knowing and

reckless wrongdoing (Third Cause of Action), and loss of consortium (Fourth Cause

of Acrion).(See Exhibit A.)

       2.     Plaintiffs' Second Cause of Action, Breach of Warranty, must be

dismissed because it is barred by the four year statute of repose as set forth under 810

ILCS 5/2-725.

       3.     Plaintiffs' Third Cause of Action, Willfiul and Wanton Misconduct,

Gross Negligence, and Intentional, Knowing and Reckless Wrongdoing, must be

dismissed because it alleges a cause of action not recognized by Illinois law.

       4.     This motion does not affect Plaintiffs' negligence and loss of

consortium theories ofliability which defendant answered on August 10, 2018.

       5.     In further support of this morion Defendant submits the attached

memorandum oflaw.

       WHEREFORE,Defendant respectfully requests that this Court grant its Rule

12(b)(6) Motion to Dismiss Plaintiffs' Second Amended Complaint with prejudice

and without leave to amend.




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                                Respectfully submitted,

                                RPM WOOD FINISHES GROUP,INC.,
                                d/b/a MOHAWK FINISHING PRODUCTS
                                DIVISION OF RPM WOOD FINISHES
                                GROUP,INC., SUCCESSOR IN INTEREST
                                TO MOHAWK FINISHING PRODUCTS,
                                INC., WHICH WAS SUCCESSOR IN
                                INTEREST TO STAR FINISHING
                                PRODUCTS,INC.,f/k/a STAR CHEMICAL
                                CO.,INC.


                                By:   /s/ Erica S. Longfield
                                      One of its attorneys
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